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                                  No. 22-55744

         (Decided August 23, 2024 –Tashima, Thomas, and Rakoff*)

                                       IN THE
              UNITED STATES COURT OF APPEALS
                  FOR THE NINTH CIRCUIT
                                 ____________
                 JUSTIN LYTLE AND CHRISTINE MUSTHALER,
                           Plaintiffs-Appellees,
                                        vs.
NUTRAMAX LABORATORIES, INC. AND NUTRAMAX LABORATORIES VETERINARY
                         SCIENCES, INC.,
                     Defendants-Appellants.
                                 ____________
                On Appeal from the United States District Court
                     for the Central District of California,
                            Case No. 5:19-CV-00835
                        Honorable Fernando M. Olguin
                                 ____________
       APPELLANTS’ MOTION TO STAY THE MANDATE
  PENDING FILING OF A PETITION FOR WRIT OF CERTIORARI
                                 ____________
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                          INTRODUCTION

     Pursuant to Federal Rule of Appellate Procedure 41(d)(2),

Defendants-Appellants        Nutramax        Laboratories,      Inc.       and

Nutramax Laboratories Veterinary Sciences, Inc. (collectively,

“Nutramax”) respectfully move for an order staying the issuance

of the mandate in this case pending the filing of a petition for a

writ of certiorari with the United States Supreme Court, and
thereafter until the Supreme Court either disposes of the petition

or decides the case on the merits. Counsel for Plaintiffs-Appellees

informed Counsel for Nutramax that they oppose this motion.
     A stay is warranted because Nutramax’s forthcoming

certiorari petition will raise substantial questions concerning the

appropriate standard for considering evidence at the class
certification stage, including whether such evidence must be

admissible and whether the district court must conduct a full

Daubert inquiry. As the panel opinion acknowledges, the Circuits

are split on this issue. Slip Op. 26–27; see also Allen v. Ollie’s

Bargain Outlet, Inc., 37 F.4th 890, 906–07 (3d Cir. 2022) (Porter,

J., concurring) (describing circuit split).        The Supreme Court

originally granted certiorari in Comcast Corp. v. Behrend, 569

U.S. 27 (2013), to resolve this issue, but it ultimately disposed of

the case on other grounds. See Slip Op. 27 n.6.


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     Furthermore, there is good cause for a stay. It will cause

prejudice to Nutramax, confusion to consumers, and a waste of

court and party resources if class notice is distributed and the

class action proceeds, but the Supreme Court grants certiorari and

ultimately reverses the class certification decision. By contrast, a

brief stay of this action pending a decision on the petition for

certiorari will cause no harm to Plaintiffs, who are free in the

meantime to have their expert proceed with his survey and

damages analysis—which is the next step in the case in any event.

     A stay of the mandate is generally merited unless “the

petition for certiorari would be frivolous or filed merely for delay.”

9th Cir. R. 41-1. Neither concern is present here: Nutramax’s

petition for certiorari will be far from frivolous, and it will not be
filed merely for delay. The Court should stay the mandate.

                           BACKGROUND

     The    Court    is   familiar    with   the    relevant    facts      and
background, which are only briefly summarized here. This appeal

arises from an order of the district court granting class

certification. Nutramax timely filed a Rule 23(f) petition for
permission to appeal, which this Court granted. The issues on

appeal included whether the report proffered by Plaintiffs’ expert

in support of class certification was sufficient to satisfy the




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rigorous analysis required by Federal Rule of Civil Procedure 23

and Federal Rule of Evidence 702.

     On April 22, 2024, the Court issued an Opinion affirming the

district court’s class certification decision. The Court held that, at

the Rule 23 stage, expert testimony need not be admissible and

that a “limited Daubert analysis” is sufficient. Slip. Op. 15–16,

26–29.     Nutramax timely petitioned for rehearing and/or

rehearing en banc arguing, among other things, that the panel

opinion implicated a circuit split. Dkt. 52. On August 23, 2024,

the panel issued an Order and Amended Opinion. Dkt. 157. The

Amended Opinion corrected a separate legal issue raised by

Nutramax’s petition, but it did not modify the section of the

opinion addressing the circuit split.
                      REASONS FOR A STAY

     Under Federal Rule of Appellate Procedure 41(d)(2), a stay

of the mandate “pending the filing of a petition for a writ of

certiorari in the Supreme Court” is appropriate where the

certiorari petition “present[s] a substantial question and . . . there

is good cause for a stay.” This Court often grants such motions.
See United States v. Pete, 525 F.3d 844, 851 (9th Cir. 2008)

(stating that it is “often the case” that mandates are stayed while

seeking certiorari from the Supreme Court). “Ordinarily, . . . a
party seeking a stay of the mandate following this court’s


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judgment need not demonstrate that exceptional circumstances

justify a stay.” Bryant v. Ford Motor Co., 886 F.2d 1526, 1528–29

(9th Cir. 1989). Rather, a stay is generally merited unless “the

petition for certiorari would be frivolous or filed merely for delay.”

9th Cir. R. 41-1.

     A.     Nutramax’s Petition Will Present Substantial
            Questions Involving a Circuit Split.
     Nutramax’s petition for certiorari will present substantial
questions of federal law, including whether expert testimony at

the class certification stage must be admissible and whether the

district court must conduct a full Daubert inquiry. A substantial

question exists where there is (1) “a reasonable probability that at

least four [Supreme Court] Justices would vote to grant the

petition for a writ of certiorari” and (2) “a fair prospect that [the]
applicant may prevail on the merits.” California v. Am. Stores

Co., 492 U.S. 1301, 1307 (1989) (O’Connor, J., in chambers). The

“reasonable probability” standard does not require proof that the

Supreme Court is “more likely than not” to grant review; a lesser

showing will suffice. Doe v. Miller, 418 F.3d 950, 952 (8th Cir.

2005). In assessing whether there is a fair prospect of reversal,

this Court must “dispassionately assess the merits of the case . . .

and determine, as best [it] can, how the Justices will assess the




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judgment that [it] rendered.” Williams v. Chrans, 50 F.3d 1358,

1360 (7th Cir. 1995) (per curiam).

        1.   There is at least a reasonable probability that the

Supreme Court will grant Nutramax’s petition for certiorari.

Under Supreme Court Rule 10, one of the primary criteria that

the Justices consider when deciding to grant certiorari is whether

“a United States court of appeals has entered a decision in conflict

with the decision of another United States court of appeals on the

same important matter.” S. Ct. R. 10(a). That criterion is met

here.

        As the panel’s opinion acknowledges, there is now a deeply

entrenched circuit split over the evidentiary standard that the

district court must apply at the class certification stage. See Slip
Op. 26–27. The First, Third, Fifth, and Seventh Circuits have

held that evidence—or at least expert testimony—must be

admissible to satisfy Rule 23. See In re Prantil v. Arkema Inc.,

986 F.3d 570, 575 (5th Cir. 2021) (holding that the evidentiary

inquiry at class certification is the same as that at trial, and “the

Daubert hurdle must be cleared when scientific evidence is

relevant to the decision to certify”); Asacol Antitrust Litig., 907

F.3d 42, 53 (1st Cir. 2018) (rejecting use of inadmissible hearsay

evidence to support standing for class members because “class
certification provides no occasion for jettisoning the rules of


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evidence and procedure”); In re Blood Reagents Antitrust Litig.,

783 F.3d 183, 186–88 (3d Cir. 2015) (rejecting view that it suffices

if expert testimony “could evolve to become admissible evidence”);

Am. Honda Motor Co. v. Allen, 600 F.3d 813, 815–16 (7th Cir.

2010) (if “an expert’s report or testimony is critical,” “the district

court must perform a full Daubert analysis before certifying the

class”).

      By contrast, this Court, along with the Sixth and Eighth

Circuits, permit district courts to apply a more lenient evidentiary

standard at the class certification stage. See Lyngaas v. Curaden

AG, 992 F.3d 412, 415, 428–29 (6th Cir. 2021) (“[E]videntiary

proof required for class certification need not amount to

admissible evidence, at least with respect to nonexpert evidence.”);
In re Zurn Pex Plumbing Prod. Liab. Litig., 644 F.3d 604, 610–14

(8th Cir. 2011) (allowing for a “focused Daubert inquiry” based on

“the current state of evidence”); Slip Op. 16 (“[T]here is no

requirement that the evidence relied upon by Plaintiffs to support

class certification be presented in an admissible form at the class

certification stage.”); id. at 29 (“[W]e are satisfied that the district

court’s limited Daubert analysis was sufficient[.]”).

      This case presents a good vehicle for the Supreme Court to

resolve this circuit split and to clarify the evidentiary standard at

the class certification stage.           There is therefore at least a


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reasonable probability—if not a likelihood—that four Justices will

vote to grant certiorari. See S. Ct. R. 10(a).

       2. There is also at least a fair prospect that Nutramax will

ultimately prevail on the merits if the Supreme Court grants

certiorari. Not only does the panel’s decision run contrary to the

Supreme Court’s guidance on class certification, but, if permitted

to   stand,    the   panel    opinion     will   have   adverse     practical

consequences for class certification going forward.

       a. Under Supreme Court precedent, plaintiffs “must actually

prove—not simply plead—that their proposed class satisfies” Rule

23, and they must carry this burden of proof “before class

certification.” Halliburton Co. v. Erica P. John Fund, Inc., 573

U.S. 258, 275–76 (2014).          The Supreme Court has previously
expressed “doubt” about a district court’s ruling that the Daubert

standard “did not apply to expert testimony at the certification

stage.” Wal-Mart Stores Inc. v. Dukes, 564 U.S. 338, 354 (2011).

And the Supreme Court originally granted certiorari in Comcast

Corp. v. Behrend to decide whether evidence considered at the

class certification stage must be admissible.              569 U.S. at 39

(Ginsburg, J., dissenting). Although the Court ultimately resolved

the case on other grounds, it nevertheless emphasized that

plaintiffs must present “evidentiary proof” that Rule 23’s
requirements are “in fact” satisfied. Id. at 33.


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     The Circuits that have construed Rule 23 to require that

evidence at the class certification stage be admissible have relied

extensively on this Supreme Court precedent. The Third Circuit,

citing Comcast and Wal-Mart, reasoned that “[e]xpert testimony

that is insufficiently reliable to satisfy the Daubert standard

cannot ‘prove’” that Rule 23 is satisfied. In Re Blood Reagents,

783 F.3d at 187. And the Fifth Circuit, relying on these same

Supreme Court opinions, explained that “if an expert’s opinion

would not be admissible at trial, it should not pave the way for

certifying a proposed class.” Prantil, 986 F.3d at 576.

     b. The practical consequences that will result from a

weakened evidentiary standard at the class certification stage

further support the likelihood that Nutramax will prevail on the
merits. The panel here concluded that if “an expert’s analysis is

complete and her tests fully executed, there may be no reason for

a district court to delay its assessment of ultimate admissibility at

trial.” Slip Op. 28. “By contrast,” if “an expert’s model has yet to

be fully developed, a district court is limited at class certification

to making a predictive judgment about how likely it is the expert’s

analysis will eventually bear fruit.” Id. In other words, plaintiffs

who choose not to submit a fully developed model need not comply

with the Federal Rules of Evidence, while those who do will face
more searching assessments.


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      This double standard creates a perverse incentive for class

action plaintiffs not to complete their expert models before class

certification.      When     plaintiffs    develop    models     for   class

certification, the expert’s data, assumptions, and outputs become

subject to challenge and rigorous review.            See Olean Wholesale

Grocery Coop., Inc. v. Bumble Bee Foods LLC, 31 F.4th 651, 673–

84 (9th Cir. 2022).      District courts regularly deny certification

based on flaws in models as executed—including conjoint

surveys—at class certification. But the panel’s approach provides

future class action plaintiffs with a new roadmap for obtaining

certification: Hold off on fully developing your model until after

certification in order to avoid scrutiny.

                               *     *      *
      In summary, Nutramax’s petition for a writ of certiorari will

raise substantial questions concerning the evidentiary standards

required to satisfy Rule 23.        There is a at least a reasonable

probability that the Supreme Court will grant certiorari to resolve

the split that has divided seven Circuit Courts. And there is at

least a fair probability that Nutramax will ultimately prevail on

the merits if the Supreme Court grants certiorari.

      B.    There Is Good Cause to Stay the Mandate.

      Good cause exists to stay the mandate—and thereby to stay
issuance of class notice in the district court—while Nutramax


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petitions the Supreme Court for a writ of certiorari.                When

deciding whether to stay the mandate, the Court may consider the

likelihood that irreparable harm will result if the decision is not

stayed, as well as the balance of equities and the public interest.

See Am. Stores Co., 492 U.S. at 1307; Rostker v. Goldbert, 448 U.S.

1306, 1308 (1980) (Brennan, J., in chambers). Here, all of the

relevant factors weigh in favor of staying the mandate.

     Nutramax would be irreparably harmed if an unnecessary

notice goes out to its customers, and it is forced to expend

resources defending against what may ultimately prove to be a

meritless class action lawsuit. Cf. United States v. Claiborne, 727

F.2d 842, 851 (9th Cir. 1984) (explaining that proceeding to trial

before the appellate court has ruled can cause irreparable harm).
The certification of a class is a critical stage in any litigation,

which is why district courts are required to conduct a “rigorous

analysis” before certification, Comcast, 569 U.S. at 33, and why

Rule 23(f) provides a streamlined avenue for the immediate

appeal of certification decisions.

     The risk of confusing the public also weighs heavily in favor

of staying the mandate. If Plaintiffs begin sending class notice to

consumers and potential class members, but the Supreme Court

subsequently grants certiorari and reverses, then the notice will
have been unnecessary and may require a second notice of


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decertification—creating confusion and wasting court and party

resources.   The public interest would be far better served by

simply waiting the brief period of time it will take for the Supreme

Court to consider Nutramax’s petition for certiorari and, if that

petition is successful, the time it will take to resolve this case.

      Finally, a stay of the mandate will not harm Plaintiffs.

Counsel for Plaintiffs stated that they oppose a stay because the

case has been delayed pending the appeal, and they want to

proceed with their expert’s damage analysis. Staying the mandate

will not prevent their expert from proceeding with his work, which

will require engaging in additional data collection, drafting and

conducting the survey, and then preparing and running his

economic model and writing his report. Regardless of whether the
mandate is stayed, that work needs to occur before the case can

meaningfully proceed. Nothing is stopping Plaintiffs from having

their expert do that work now—other than perhaps a reasonable

concern that Nutramax will ultimately prevail in its certiorari

petition.

                            CONCLUSION
      For the foregoing reasons, Nutramax respectfully requests

that the Court stay the issuance of the mandate pending the

timely filing of a petition for a writ of certiorari with the United




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States Supreme Court, and thereafter until the Supreme Court

either disposes of the petition or decides the case on the merits.

Dated: August 29, 2024                   Respectfully submitted,

                                         SIDLEY AUSTIN LLP


                                         By: /s/David R. Carpenter
                                            David R. Carpenter

                                         Attorney for Defendants-
                                         Appellants




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               CERTIFICATE OF COMPLIANCE


     Pursuant to Rules 27(d) and 32(a)(5) and (6) of the Federal

Rules of Appellate Procedure, and Circuit Rule 27-1(1)(d), I certify

that the foregoing is in 14-point proportionally spaced Century

Schoolbook font, contains 2,438 words, and does not exceed 20

pages.

Dated: August 29, 2024                   SIDLEY AUSTIN LLP

                                         By: /s/David R. Carpenter
                                            David R. Carpenter

                                         Attorney for Defendants-
                                         Appellants




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                   CERTIFICATE OF COMPLIANCE


          I hereby certify that I electronically filed the foregoing with

the Clerk of the Court for the United States Court of Appeals for

the Ninth Circuit by using the appellate CM/ECF system on

August 29, 2024.

          I certify that all participants in the case are registered

CM/ECF users and that service will be accomplished by the

appellate CM/ECF system.

Dated: August 29, 2024                      SIDLEY AUSTIN LLP

                                            By: /s/David R. Carpenter
                                               David R. Carpenter

                                            Attorney for Defendants-
                                            Appellants




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